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      UNITED STATES DISTRICT COURT                    At issue here is the Court’s adoption of
      SOUTHERN DISTRICT OF GEORGIA                the MJ’s recommendation that the Court
          STATESBORO DIVISION                     deny Defendants’ claim that Plaintiff is
                                                  prohibited from seeking any monetary
                                                  damages (with the exception of nominal
JAMIL AL-AMIN,
                                                  damages) on the retaliation claim. Id. at 24.
Plaintiff,                                        In particular, the MJ determined that 42
                                                  U.S.C. § 1997e(e)’s limitation that “[n]o
v.                     607CV026                   Federal civil action may be brought by a
                                                  prisoner ... for mental or emotional injury
HUGH SMITH, SANCHE JACKSON,                       suffered while in custody without a prior
JAMES E. DONALD, and STEPHEN                      showing of physical injury,” did not restrict
UPTON,                                            Plaintiff’s monetary damages claim here,
                                                  because Plaintiff sought damages for “more
Defendants.                                       than emotional injuries.” See doc. # 88 at
                                                  24. Despite Defendants’ objections to the
                  ORDER                           R&R, this Court adopted the MJ’s
I.        INTRODUCTION                            recommendations. Doc. # 94. In its
                                                  Adoption Order, the Court elaborated that §
    Presently before the Court is
                                                  1997e(e) did not restrict Plaintiff’s monetary
Defendants’ motion for reconsideration.
                                                  recovery options because the statute “does
Doc. # 95. Defendants urge the Court to
                                                  not prevent a prisoner from seeking
reconsider its determination on summary
                                                  compensatory or punitive damages for a
judgment that Plaintiff is not prohibited
                                                  wide range of alleged constitutional
from seeking compensatory and punitive
                                                  violations, such as certain due process
damages on his First Amendment retaliation
                                                  violations or First Amendment violations
claim pursuant to 42 U.S.C. § 1983 because,
                                                  which often do not result in any physical
Defendants claim, that determination
                                                  injury.” Id. at 4.
“directly conflicts with prior holdings of this
District and intervening law from the                Defendants now move the Court to
Eleventh Circuit Court of Appeals.” Id. at 1.     reconsider its determination on the
                                                  compensatory and punitive damages issue,
II.       BACKGROUND
                                                  which they claim directly contradicts “prior
    Plaintiff Jamil Al-Amin brought this §        holdings of this District and intervening law
 1983 case contesting certain conditions of       from the Eleventh Circuit Court of
his confinement while he was housed at            Appeals.” Doc. # 95 at 1.
Georgia State Prison in Reidsville, Georgia.
                                                  III.    ANALYSIS
Doc. # 1. Defendants moved for summary
judgment as to Plaintiff’s claims. Doc. # 52.         “Reconsideration may be necessary if
In his Report and Recommendation                  there is (1) newly discovered evidence, (2)
(“R&R”), the Magistrate Judge (“MJ”)              an intervening development or change in
recommended the dismissal of all of               controlling law, or (3) the need to correct a
Plaintiff’s claims save for his claim that        clear error or prevent manifest injustice.”
Defendant Smith restricted his visitation         Jersawitz v. People TV, 71 F. Supp. 2d
privileges on one particular occasion in          1330, 1344 (N.D. Ga. 1999).
retaliation for the Plaintiff having filed            Defendants first bring to the Court’s
lawsuits against him. Doc. # 88 at 22.            attention the fact that, several days prior to
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the entry of this Court’s Adoption Order, the         constitutional deprivation.” Id. (citations
Eleventh Circuit issued an opinion that               omitted). The Court then explained that, in
Defendants claim directly contradicts this            order to ensure that a plaintiff has alleged
Court’s stance on Plaintiff’s entitlement to          and shown an adequate requisite injury, a
compensatory and punitive damages. Doc. #             court should initially determine whether the
95 at 1-3 (discussing Eleventh Circuit’s              plaintiff’s injury or wrong is mental and/or
opinion in Williams v. Brown, 2009 WL                 emotional. Id. at 7. If it is either or both
2883496, at *5 (11th Cir. 9/10/09)). In               types, then the plaintiff “must also allege
Williams, the Eleventh Circuit upheld the             physical injury in order to proceed with his
dismissal of a § 1983 inmate-plaintiff’s              claim while in custody.” Id. The Court
claims for compensatory and punitive                  then determined that Coleman had suffered
damages flowing from his First Amendment              only mental and emotional damages as a
retaliation claim, due to his failure to allege       result of the alleged due process violation,
any physical injury. 2009 WL 2883496, at              and, because he had failed to allege a
*5. Plaintiffs thus urge this Court to “follow        physical injury, his compensatory damages
the precedent and reasoning of the Williams           claims were barred by § 1997e(e). Id. at 8.
decision and dismiss Plaintiff Al-Amin’s                  The Coleman Court also held that
claims for compensatory and punitive                  punitive damages were likewise barred due
damages” due to his failure to allege a               to the failure to allege a physical injury. See
sufficient physical injury. Doc. # 95 at 3.
                                                      id. at 9-11. Although the Court expressed
    Defendants additionally implore the               reservations about the reasoning of
Court to consider a prior Order in which this         Eleventh Circuit precedent holding that “a
Court held that a § 1983 inmate-plaintiff             prisoner plaintiff’s failure to allege physical
claiming to have suffered a due process               injury bars not only his claim for
violation was not entitled to compensatory            compensatory damages but punitive
and punitive damages without a showing of             damages as well,” the Court acknowledged
a physical injury. Id. at 3-6 (discussing             that, “[a]s a lower court, it [wa]s bound to
Coleman v. Howerton, 5:03-CV-113 doc. #               follow the Court of Appeals’ interpretation
48 (S.D. Ga. Order entered 3/31/05)). The             of § 1997e(e).” Id. As a result, the Court
MJ there had recommended that §                       dismissed Coleman’s punitive damages
1997e(e)’s physical injury requirement did            claim. Id. at 11.
not apply because the plaintiff sought to                According to Defendants, the Coleman
“remedy an alleged due process violation[,]           Order demonstrates that, in similar cases in
and not to recover for mental or emotional
                                                      the past, this Court, in adherence with
injury.” Coleman, 5:03-CV-113 doc. # 48 at            Eleventh Circuit precedent, has dismissed
4. The District Court deemed improper the             inmate-plaintiffs’ compensatory and
MJ’s opinion that the plaintiff’s claims              punitive damages claims where the inmates
could “continue based upon the
                                                      did not show that they had also suffered a
constitutional violation and not upon any             physical injury as a result of the
actual injury.” Id. The Court emphasized              constitutional violation. Doc. # 95 at 3-4.
that a plaintiff cannot recover for “some
undefinable [sic] ‘value’ of infringed                   The Court will now address the
rights,” and held that § 1997e(e) requires            application of the cited cases to each type of
that a plaintiff alleging a constitutional            monetary damages at issue.
violation “must make a showing of actual
injury that resulted from an alleged

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        A. Compensatory                                a more accurate and appropriate conclusion
    The applicable Supreme Court precedent             in light of the facts at hand.
requires “that compensatory damages in a §                 In his Amended Complaint, Plaintiff
1983 suit be based on actual injury caused             presented a laundry list of “injuries” caused
by the defendant rather than the ‘abstract             by, inter alia, the retaliatory denial of
value’ of the constitutional rights that may           visitation. Doc. # 41 at 24. Most of these
have been violated.” Slicker v. Jackson, 215           constitute either mental or emotional injuries
F.3d 1225, 1230 (11th Cir. 2000)                       (i.e., “other ... mental, and emotional
(referencing Carey v. Piphus, 435 U.S. 247             injury”) or mere effects of the constitutional
(1978) and Memphis Cmty. Sch. Dist. v.                 violation that do not necessarily involve a
Stachura, 477 U.S. 299 (1986)). The Prison             specific actual injury (i.e., “undermining and
Litigation Reform Act of 1996 injects into             chilling [of] Mr. Al-Amin’s ability to
that standard the more particular                      exercise his free speech rights”). See id.
requirement that, where an inmate alleges a            Plaintiff’s physical injury allegation is very
mental or emotional injury, he must                    vague: he claims he has suffered “other
additionally show that he incurred some                physical ... injury as a result of [his] forgone
physical injury. 42 U.S.C. § 1997e(e).                 opportunities to speak and interact with
                                                       personal visitors and other persons seeking
    The Court acknowledges that its
                                                       to offer moral legal, spiritual, and emotional
statements regarding Plaintiff’s injuries in
light of § 1997e(e) were rather vague. First,          support to [him].” Id. Plaintiff urges the
                                                       Court to deem the stress he has suffered (as
in the R&R, the MJ concluded simply that §
                                                       well as an allegedly partially-stress-induced
1997e(e)’s physical injury requirement does
                                                       aneurysm on his artery) a sufficient physical
not apply here because Plaintiff has sought
                                                       injury upon which his compensatory
damages for “more than emotional injuries.”
                                                       damages claim may proceed. Doc. # 96 at 5.
Doc. # 88 at 24. Then, in the Adoption
                                                       The Court, however, is not convinced, that
Order, the Court elaborated that §
                                                       stress (nor the “development of an
1997e(e)’s physical injury requirement does
                                                       aneurysm” that has otherwise caused him no
not apply because it “does not prevent a
                                                       physical harm or injury) constitute sufficient
prisoner from seeking compensatory or
                                                       physical injuries that are sufficiently
punitive damages for a wide range of
                                                       causally connected to the denial of one
constitutional violations, such as certain due
                                                       visitor to him on one occasion.
process violations or First Amendment
violations which often do not result in any                Accordingly, the Court finds that
physical injury.” Doc. # 94 at 4. These                Plaintiff has not alleged a physical injury
statements shed no light on exactly what               that is (1) sufficiently connected to the
type(s) of injury the Court determined that            alleged retaliation and (2) greater than de
Plaintiff has alleged here, whereby his                minimis, as required by circuit precedent.
compensatory and punitive damages claims               See Harris v. Garner, 190 F.3d 1279, 1286-
may proceed.                                           87 (11th Cir.), opinion reinstated in part on
                                                       reh’g, 216 F.3d 970 (11th Cir. 2000) (en
    The Court has undertaken a second
                                                       banc). Plaintiff, therefore, has not satisfied
review of the relevant pleadings, motions,
                                                       § 1997e(e)’s physical injury requirement,
and briefs, in light of Defendants’ motion
                                                       and he thus may not recover compensatory
for reconsideration. In order to correct a
clear error, the Court will reconsider and             damages on his claims, which are for, at
                                                       most, mental and emotional injuries.
alter its original holding, so that it may reach

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        B. Punitive Damages
    Likewise, the Court reconsiders its
original denial of summary judgment to
Defendants on Plaintiff’s punitive damages
claim. In light of the prevailing precedent in
this circuit and this district, Plaintiff’s claim
for punitive damages may not proceed, as he
has not alleged a sufficient physical injury in

2009 WL 2883496, at      *5
satisfaction of § 1997e(e). See Williams,
                             (“[B]ecause he has
not alleged the requisite physical injury, the
district court properly dismissed [Plaintiff’s]
compensatory and punitive damages
claims.”) (citing Harris v. Garner, 190 F.3d
at 1286-87); see also Coleman, 5:03-CV-
113-JEG doc. # 48 at 11.
IV. CONCLUSION
   For the foregoing reasons, Defendants’
motion for reconsideration is GRANTED.
Doc. # 95. Upon reconsideration, Plaintiff’s
claims for compensatory and punitive
damages due to Defendant Smith’s
retaliation against him by denying him
visitation privileges are hereby
DISMISSED. As a result, he is limited to
seeking only nominal damages on the claim.


This day of 3 December 2009.



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 B AVANT EDENFIELØ, RIDGE
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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF GEORGIA




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